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 7
                           UNITED STATES DISTRICT COURT
 8
                         CENTRAL DISTRICT OF CALIFORNIA
 9

10

11   FRANCISCO TAPIA,                      )    CASE No.: 2:21-CV-07619-PD
                                           )
12             Plaintiff                   )
                                           )    ORDER FOR THE AWARD OF
13    vs.                                  )    ATTORNEY FEES PURSUANT TO
                                           )    THE EQUAL ACCESS TO
14   KILOLO KIJAKAZI,                      )    JUSTICE ACT 28 U.S.C. § 2412 (d)
                                           )
15   Acting Commissioner of Social Security)
                                           )
16             Defendant(s).               )
                                           )
17                                         )
                                           )
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19

20         The Court having approved the stipulation of the parties, IT IS ORDERED
21   that Plaintiff be awarded attorney fees under the Equal Access to Justice Act, 28
22
     U.S.C. § 2412(d), in the amount of ONE THOUSAND-SIX HUNDRED NINETY-
23
     THREE DOLLARS AND SEVENTY-EIGHT CENTS ($1,693.78).
24

25
     DATE: July 08, 2022
26

27                                   _____________________________________
                                     THE HONORABLE PATRICIA DONAHUE
28
                                     UNITED STATES MAGISTRATE JUDGE



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